                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE

MELANIE LANHAM,                                   )
                                                  )
        Plaintiff,                                )
v.                                                )
                                                  ) 3:19-CV-000371
MANGLAM HOTELS LLC, NISH                          )
JOBALIA and SHREY PATEL,                          ) Judge Trauger
                                                  )
        Defendant.                                )

                     STIPULATION OF DISMISSAL WITH PREJUDICE

        As evidenced by the signatures below of counsel for Plaintiff and Defendants, the parties,

Plaintiff Melanie Lanham and Defendants, Manglam Hotels, LLC, Nish Jobalia, and Shrey Patel,

have agreed and hereby stipulate, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), to the dismissal of

this action with prejudice. All the claims of Plaintiff are, therefore, dismissed with full prejudice

against refiling. Each party shall bear its or his own attorney’s fees and expenses.

        ENTERED this the ____ day of ___________________, 2020.




                                              ____________________________
                                              United States District Judge




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APPROVED FOR SUBMISSION:

LEWIS, THOMASON,
KING, KRIEG & WALDROP, P.C.


By:    _/s/ Brad W. Craig________________
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By: ___/s/ Frank J. Steiner (w/ permission)_______
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this the 26th day of March, 2020, a copy of the foregoing
document was filed electronically. Notice of this filing will be sent by operation of the Court’s
electronic filing system to all parties indicated on the electronic filing receipt. All other parties
will be served by regular U.S. mail. Parties may access this filing through the Court’s electronic
filing system.

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                                              /s/ Brad W. Craig
                                              Brad W. Craig




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